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                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


In re Subpoena to

VANTIVA USA LLC,

   Respondent,                               MISCELLANEOUS ACTION NO.
                                                  1:23-mi-______
   v.

ENTROPIC COMMUNICATIONS, LLC

   Movant.


ENTROPIC COMMUNICATIONS, LLC,

   Plaintiff,
                                                  CIVIL ACTION NO.
   v.                                            2:22-cv-00125-JRG
                                            (Eastern District of Texas)
CHARTER COMMUNICATIONS, INC.,
SPECTRUM ADVANCED SERVICES, LLC;
AND SPECTRUM MANAGEMENT HOLDING
COMPANY, LLC,

    Defendants.


                 MEMORANDUM OF LAW IN SUPPORT OF
            PETITIONER ENTROPIC COMMUNICATIONS, LLC’S
   MOTION TO COMPEL COMPLIANCE WITH A SUBPOENA DUCES TECUM AND
     SUBPOENA AD TESTIFICANDUM TO NON-PARTY VANTIVA USA, LLC
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I.   INTRODUCTION

     In a matter styled Entropic Communications, LLC v. Charter

Communications,      Inc.,     No.   2:22-cv-00125-JRG     (E.D.     Tex.),

Plaintiff,     Entropic    Communications,   LLC   (“Entropic”)    served   a

subpoena duces tecum and subpoena ad testificandum on third party

Vantiva USA LLC (“Vantiva”) on April 19, 2023 — more than three

months ago (the “Subpoenas”).        While Vantiva served objections to

the Subpoenas, it never moved to quash the Subpoena, and moreover

refused   to     produce     responsive   documents,    namely    documents

sufficient to identify particular System on Chips (“SoCs”) used in

the Relevant Set Top Products and Relevant Cable Modem Products,

and cost of the individual components of the Relevant Set Top

Products and Relevant Cable Modem Products.              Nor has Vantiva

appeared for deposition, despite numerous requests by Entropic.

     Vantiva’s actions are improper under Rule 45 of the Federal

Rules of Civil Procedure, and Entropic is entitled to an order

compelling Vantiva to produce: (1) documents identifying the SoCs

in the Relevant Set Top Products and Relevant Cable Modem Products;

(2) documents identifying the price of the individual components

used in the Relevant Set Top Products and Relevant Cable Modem

Products; and (3) a witness to testify regarding the responsive

documents that Vantiva is compelled to produce.




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II.   FACTUAL BACKGROUND

      A.     Entropic’s Subpoenas

      On April 19, 2023, Entropic served the Subpoenas on third-

party    Vantiva    seeking    both    the    production       of    documents     and

deposition     testimony.     [Ex.    A].    The    Subpoenas       called   for   the

production of documents on May 9, 2023, and deposition testimony

to take place on May 16, 2023. More specifically, the Subpoenas

sought the production of non-privileged documents responsive to

inter alia the following disputed requests (“Requests”):

REQUEST NO. 1: Documents and things sufficient to show the
architecture and components of the Relevant Set Top Products and
Relevant Cable Modem Products, including part lists, component
lists, bills of materials, and circuit diagrams.

REQUEST NO. 11: Documents sufficient to show Your pricing for the
Relevant Products, and the considerations impacting such pricing.

[Ex. B, at 17, 19].

      In addition, the Subpoenas sought deposition testimony on the

following disputed deposition topics (“Topic”):

TOPIC NO. 2: The meaning and purpose of all Documents produced in
response to the Requests.

See id., at 20.

      B.     Vantiva’s Objections

      Vantiva did not move to quash the Subpoenas.                      Vantiva did

serve    objections    to   the   Subpoenas        on   May   12,   2023.    Entropic



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Communications, LLC v. Charter Communications, Inc., No. 2:22-cv-

00125-JRG,   Non-Party   Vantiva      USA   LLC’S   Response   to   Entropic

Communications,     LLC’s      Document        Subpoena    and      Entropic

Communication’s Subpoena for Deposition Testimony (E.D. Tex. May

12, 2023)(“Vantiva Subpoena Response”) [Ex. C].           Therein, Vantiva

lodged nine general objections to both the document requests and

deposition topics in the Subpoenas. Id. at 2-4.           Those objections

included, among others: (1) attorney-client privilege, the work

product doctrine, or any other applicable privilege or immunity

(General     Objection   No.      2);       imposition    of     duties   or

responsibilities   greater     than   those    impaired   by   court   orders

(General Objection No. 3); vague ambiguous, overly broad, or unduly

burdensome (General Objection No. 4); unreasonably cumulative or

duplicative (General Objection No. 4); seeking information already

known or equally available from other sources (General Objection

No. 4); and documents not in within Vantiva’s possession or control

(General Objection No. 5). See id.

     Additionally, Vantiva objected to the Subpoenas’ definitions

and instructions. See id., at 4-6.             Vantiva objected to: the

definition of the term “You” and “Vantiva” on indefinite, overly

broad, unduly burdensome, and harassing grounds, and imposition of

obligations exceeding the Federal Rules (Def. and Instr. Objection

No. 2); the term “document” and “documents” as vague, overly broad,


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and unduly burdensome (Def. and Instr. Objection No. 3); the term

“communication” and “communications” as vague, overly broad, and

unduly burdensome (Def. and Inst. Objection No. 4); the terms

“Relevant Set Top Products,” “Relevant Cable Modem Products,” and

“Relevant Products” to the extent of inferring that Vantiva’s

products infringe Entropic’s patents or that Vantiva is liable for

infringement (Def. and Inst. Objection No. 5); the terms “Relevant

Technologies” to the extent that the term infers a description or

relation   to   claims   of   the   Asserted   Patents   (Def.   and   Inst.

Objection No. 6); and the Subpoenas’ full set of instructions to

the extent they impose an obligation on Vantiva greater than the

Federal Rules, Local Rules, and/or any other applicable law or

rules (Def. and Inst. Objection No. 7). See id.

     Vantiva specifically objected in response to each Request.

See id., at 6-19. However, for the purposes of this motion, Vantiva

specifically objected in response to Request Nos. 1 and 11. Id. at

7, 13.

     In response to Request No. 1, Vantiva objected to the terms

“architecture,” and “components,” as vague and ambiguous, and

further objected to this request on grounds of indefiniteness,

being overly broad, unduly burdensome, harassing, and purporting

to impose obligations on Vantiva that exceed the Federal Rules.

Id. at 7.       Vantiva also objected to Request No. 1 as “wholly


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unnecessary.” Id. Vantiva’s specificity explanation was limited to

contending that Request No. 1 did not include a description of the

particular functionality or a reasonable limitation in scope. Id.

      Vantiva also objected to Request No. 11 as indefinite, overly

broad, unduly burdensome, harassing, and purporting to impose

obligations on Vantiva that exceed the Federal Rules. Id. at 13.

For this request, Vantiva’s specificity explanation consisted of

the contention that Request No. 11 was not limited in time. Id.

      In response to both Request Nos. 1 and 11, Vantiva responded

that it would produce relevant non-privileged documents responsive

to the Requests. Id.    However, as explained below, Vantiva refused

to produce documents responsive to these Requests.

      C.     Entropic’s Attempts to Resolve the Dispute

      Subsequent to Entropic’s grant of multiple extension requests

and   follow   ups   regarding   the       status   of   Vantiva’s   document

production, on June 2, 2023, Vantiva produced a total of 29

documents.     In response, Entropic sent Vantiva a letter on June

12, 2023 regarding the deficient document production and further

request for dates to depose a Vantiva representative. [Ex. D].

      Entropic continued to follow up with Vantiva regarding the

status of the production of documents and request for deposition

dates from June 23, 2023 until July 11, 2023, when the parties met




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and conferred in good faith, and narrowed the scope of the Requests

pertaining to Response Nos. 1 and 11 as follows:

     (1) Documents identifying the SoCs in the Relevant Set Top
Products and Relevant Cable Modem Products (responsive to Request
Nos. 1); and

     (2) Documents identifying the price of the individual
components used in the Relevant Set Top Products and Relevant Cable
Modem Products (responsive to Request No. 11).

Entropic also limited the Topics to inter alia the following area:

     (1) Testimony regarding the responsive documents that Vantiva
is compelled to produce (responsive to Topic No. 2).

     On July 12, 2023 Vantiva produced only 10 master purchase

agreements between Vantiva and Charter; and to date, Vantiva has

produced a total of 39 documents which renders its obligated

document production woefully deficient.       Vantiva has declined to

produce   any   further   documents    responsive    to   the   narrowed

categories discussed during the meet and confer regardless of the

underlying court’s subpoena and Entropic’s repeated requests to

produce responsive documents. Furthermore, Vantiva has refused to

produce a witness for deposition.

III. DISCUSSION

     A.   Entropic’s Motion is Properly Filed in This District

     As a preliminary matter, Entropic’s Motion to Compel is

properly filed in the District Court for the Northern District of

Georgia because Norcross is the place where compliance is required



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on the face of the Subpoenas, and the place where compliance with

the Subpoenas will actually occur. See Fed. R. Civ. P. 45(c);

Conservit, Inc. v. Global Mill Supply, Inc., No. 1:19-CV-00274-

ELR, 2023 WL 3875061, *3 (N.D. Ga. Apr. 11, 2023) (concluding party

could have only brought subpoena-related motion in United States

district court where subpoena commanded depositions and production

of documents).

     The    Subpoenas   provide    that   the      location   of    document

production and deposition is at Veritext Legal Solutions, 20

Mansell    Court,   Suite   300,   Roswell,   GA    30076.    See   Entropic

Communications, LLC v. Charter Communications, Inc., No. 2:22-cv-

00125-JRG, Notice of Subpoena (E.D. Tex. Apr. 17, 2023) [Ex. A].

Veritext Legal Solutions is approximately 15 miles from Vantiva’s

Georgia headquarters located at 4855 Peachtree Industrial Blvd.,

Suite 200, Norcross, GA 30092. As a result, the location of the

deposition is in compliance with Fed. R. Civ. P. 45(c)(1)’s 100-

mile distance from where Vantiva regularly transacts business.

     B.     Vantiva’s Failure to Produce Responsive Documents and
            Ineffectual Objections Warrant an Order Compelling
            Production.

     In this case, Vantiva has failed to adequately respond to

discovery. Consequently, Entropic is entitled to move for an order

compelling discovery, and has certified that the parties have

conferred in good faith in an effort to obtain the requested


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discovery without court action. Fed. R. Civ. P. 37(a)(1); LR 37.1.

Further, the general and generic objections to the Requests are

ineffectual because Vantiva fails to explain the basis for their

objections with sufficient specificity, fails to state whether any

responsive   materials       are    being       withheld   on    the    basis   of   the

objection,     and    many     of     the       objections      lack    justification

subsequent to the narrowly tailored Requests at issue. See Fed. R.

Civ. P. 34(b)(2); U.S. v. Paris, No. 4:18-CV-0230-HLM, 2020 WL

10181655, *2 (N.D. Ga. Oct. 23, 2020); Williams v. Taser Int’l,

Inc., No. 1:06-CV-0051-RWS, 2007 WL 1630875, *3 (N.D. Ga. June, 4,

2007).

          i.   Objection to producing Product Definition Documents
          and BOMs(Request No. 1).

     Vantiva’s       objection      to   any     the   terms    “architecture”       and

“components,” and statement regarding the lack of description of

particular functionality or reasonable limitations are no longer

applicable due to this specific narrowly tailored request. Even

so, Vantiva’s objection failed to explain how this request is

“indefinite,    overly       broad,      unduly    burdensome,         harassing,    and

purporting to impose obligations . . . that exceed the obligations

imposed by the Federal Rules of Civil Procedure.” See Ex. C at 7;

Taser Int’l, Inc., at *3 (stating “objections to discovery requests

must be sufficiently plain and specific to allow the Court to



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understand precisely how the challenged discovery requests are

alleged to be objectionable.”).

          ii.   Objection to producing documents showing pricing
          of the Relevant Set Top Products with full band capture
          and non-full band capture set top products limited by
          date, and pricing of components used (responsive to
          Request No. 11).

     Vantiva’s objection to this Request fails to explain how this

request is indefinite, overly broad, unduly burdensome, harassing,

and purports to impose obligations greater than the Federal Rules

as to no limitation in time (especially since Vantiva’s objection

admits the Request’s scope limitation), and further fails to state

whether responsive materials are being withheld on the basis of

any stated objection. See id. at 12; Fed. R. 34(b)(2)(C); U.S. v.

Paris, at *2; Taser Int’l, Inc., at *3.

     Based on Vantiva’s failure to adequately produce documents

responsive to the Subpoenas, and Vantiva’s ineffectual objections,

this Court should grant the instant motion and enter an order

compelling   Vantiva   to   produce    documents   responsive    to    the

aforementioned narrowly tailored Requests.

     C.   Vantiva’s Failure to Produce a Witness is Improper.

     Pursuant to Fed. R. Civ. P. 45(d)(3)(A), “[o]n timely motion,

the court for the district where compliance is required must quash

or modify a subpoena” under certain conditions (emphasis added).

To be timely, a motion to quash a deposition subpoena must be filed


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before the deposition date identified in the subpoena — in this

case, May 16, 2023. While the phrase “timely motion” not defined

in the Federal Rules, district courts in the Eleventh Circuit have

agreed that a party’s motion to quash a non-party subpoena is

untimely if filed after the date of subpoena compliance. See Moreno

v. Serco Inc., NO. 1:15-cv-3382-CC-JKL, 2016 WL 9774501, *1 (N.D.

Ga. Sept. 20, 2016).         In this case, Vantiva filed no motion to

quash.

     Rule 45 does allow for written objections to a subpoena duces

tecum.    Fed.   R.   Civ.   P.   45(d)(2)(B).   However,   there   is   no

corresponding ability to serve written objections to a subpoena ad

testificandum or deposition subpoena. See id. (stating only person

commanded to produce documents may serve written objections to

document requests).      In point of fact, then, Vantiva’s written

objections to Entropic’s deposition subpoena have no force and

effect.

     Even if Vantiva were to somehow get past the hurdles facing

its objections, as discussed above, the vast majority of Vantiva’s

objections are mere boilerplate. Fed. R. Civ. P. 34 was amended in

2015 to require that an objecting party “state with specificity

the grounds for objecting to the request, including the reasons.”

Fed. R. Civ. P. 34(b)(2)(B); U.S. v. Paris, at *2, Taser Int’l, at

*3; see, e.g. Twin Rivers Eng’g, Inc. v. Fieldpiece Instruments,


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Inc., 6:17-mc-53-Orl-40TBS, 2018 WL 3458325, *9 (M.D. Fla. July

18,   2018)    (“The    rules   leave     no    place   for   boilerplate   style

objections.”); Kansas City Power & Light Co. v. U.S., 139 Fed. Cl.

546, 565 (2018) (“The use of broad or boilerplate objections is

insufficient to justify withholding information”).                   Therefore,

assuming one ignores the ability under the Federal Rules to object

to a deposition subpoena en lieu of filing a motion to quash, then

the boilerplate nature of Vantiva’s objections to the Topics works

to waive such objections.

      Based on the fact that the Federal Rules do not provide a

mechanism     for   a   non-party    to    serve    written    objections     to   a

deposition subpoena, and that Vantiva’s objections to the Topics

do not state with specificity the grounds for objecting to the

requests      and   furthermore     do    not   state   the   reasons   for    the

objection, the Court should grant the instant motion and enter an

order compelling Vantiva to produce a witness for deposition

relative to the narrowly defined Topics.

IV.   CONCLUSION

      For the foregoing reasons, the instant motion seeking to

compel Vantiva to produce documents responsive to the narrowly

tailored Requests and produce a witness for deposition should be

granted.




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Dated: July 21, 2023

Respectfully submitted,

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                       LR 7.1(D) CERTIFICATION

     Pursuant to LR 7.1(D), the undersigned certifies that this
brief has been prepared with one of the font and point selections
approved by the Court in LR 5.1(B).

                                 /s/ John L. Lyon
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                                 Entropic Communications, LLC




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